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UNITED STATES DISTRICT COURT
F()R THE DISTRICT OF COLUMBIA

 

CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON,

Plaintiff,
V.
U.S. DEPARTMENT OF TREASURY,

Defendant.

 

Civil Action NO. 17-1 85 5 (RCL)

JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

Pursuant to Federal Rule Of Civil Procedure 41(a) Plaintiff, Citizens for Responsibility

and Ethies in Washington, and Defendant, U.S. Department of Treasury, hereby stipulate and

agree to dismissal Of this action With prejudice

Respectfully submitted,

/s/Anne L. Weismann
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